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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

JEFF HULBERT, et al. d *

Plaintiffs *
v. * Civil Action No. GLR-18-46l
SGT. BRLAN T. POPE, et al. *
Defendants *
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AlV[ENDED SCHEDULING ORDER

This scheduling order is being entered pursuant to Local Rule 103.9. Any inquiries concerning
the schedule should be directed to my chambers, not to the Clerk's Office. Any party who
believes that any deadline set forth in this Scheduling Order is unreasonable may request in
writing a modification of the Order or that a conference be held for the purpose of seeking a
modification of the Order, and any such request must be made on or before the first date set forth
in Paragraph l below. Thereaf`ter, the schedule Will not be changed except for good cause.

This case is subject to electronic filing. Please familiarize yourself with the procedures for
electronic filing available at: www.mdd.uscourts.gov. You must use the electronic filing system
for filing documents With the Clerk and sending case related correspondence to chambers
When you electronically file a document that, including attachments, is 15 pages or longer,
you also must provide a paper copy of the document and a paper 'copy of the notice of
electronic filing. The paper copy should be sent to the Clerk’s Office, not directly to my
chambers

l. DEADLl'NES

May 31, 2019: Moving for joinder of additional parties and
amendment of pleadings

Thilty days after the Court’s .
ruling on dispositive motions: Plaintiff’ s Rule 26(a)(2) disclosures

Sixty days after the Court;’s
ruling on dispositive motions: Det`endant’s Rule 26(a)(2) disclosures

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Fourteen days after Defendants’
Rule 26(a)(2) disclosure filings: Plaintiff’s rebuttal Rule 26(a)(2) disclosures

August 5, 2019: Rule 26(e)(2) supplementation of disclosures and
responses

August 29, 2019: ' Factual discovery deadline; submission of status
report

September 5, 2019: Requests for admission

October 10, 2019: Dispositive pretrial motions deadline

II. LSCM
Initial Disclosures

This is an action in which Fed. R. Civ. P. 26(a)(1) disclosures need not be made.

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This action is exempted from the requirements of Fed. R. Civ. P. 26(d)(l) and from Fed. R. Civ.
P. 26(f). However, you are encouraged to confer With one another immediately in order to: (a)
identify the issue(s), (b) set a discovery plan, (c) determine if the case can be resolved before
your clients incur further litigation expense, (d) discuss any issues about preserving discoverable
information, and (e) establish a cordial professional relationship among yourselves.

Procedure

All the provisions of Local Rule 104 apply, including the following:

a. All discovery requests must be served in time to assure that they are answered before the
discovery deadline. An extension of the deadline will not be granted because of
unanswered discovery requests

b. The existence of a discovery dispute as to one matter does notjustify delay in taking any
other discovery. The filing of `a motion to compel or a motion for a protective order will
not result in a general extension of the discovery deadlinc.

c. No discovery materials, including Rule 26(a)(2) disclosures, should be filed with the
court. '

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d. Motions to compel shall be filed in accordance with Local Rule 104.8 and applicable
CM/ECF procedures

e. Please be familiar With the Discovery Guidelines of this Court which are Appendix A to
the Local Rules. Appendix D contains guidelines for form discovery requests and
confidentiality orders that may be helpful to you.

Deposition Hours

Each side shall be limited to 40 hours of depositions of fact witnesses (including parties). If
there are two or more parties on a particular side, they must share the deposition time allotted to
their side. Any colloquy engaged in by counsel shall be counted against his/her client's
deposition time. `

Expert Discovery

The parties have agreed to defer expert discovery until after the resolution of any dispositive
motions that are filed.

III. STATUS REPORT

The parties shall file on the day of the discovery deadline a status report covering the following
matters: ~

a. Whether discovery has been completed;
b. Whether any motions are pending;
c. Whether any party intends to file a dispositive pretrial motion;

d. Whether the case is to be triedjury or non-jury and the anticipated length of trial;

e. A certification that the parties have met to conduct serious settlement negotiations; and
the date, time and place of the meeting and the names of all persons participating therein;

f. Whether each party believes it would be helpful to refer this case to another
judge of this court for a settlement or other ADR conference, either before or after the
resolution of any dispositive pretrial motion;

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g._ Whether all parties consent, pursuant to 28 U.S.C. § 636(0), to have a U.S. Magistrate
Judge conduct all further proceedings i_n this case, either before or after the resolution of
any dispositive pretrial motion, including trial Gury or non-jury) and entry of final
judgment

h. Any other matter which you believe should be brought to the court's attention.

IV. DISPOSITIVE PRETRIAL MOTIONS

If more than one party intends to file a summary judgment motion, the provisions of Local Rule
105.2.c apply.

After motions and responses thereto have been filed, I will advise you if a hearing is to be
scheduled. -

V. STATUS AND PRETRlAL CONFERENCES

l will set a scheduling conference after the status report has been filed, unless that report
indicates that one or more of you intends to file a dispositive pretrial motion. ln the latter event I
will not set a scheduling conference until after I have ruled upon the motion (or the dispositive
pretrial motion deadline passes without the anticipated motion being filed).

At the scheduling conference:

a. I w1ll set a deadline for submitting the pretrial order, motions in limine, proposed voir
dire questions and proposed jury instructions;

b. I will set a pretrial conference date and a trial date; and

c. I will ask you whether a settlement or other ADR conference with a judicial officer
would be usef`ul, and whether all parties would consent to trial (jury or'nonjury) before a
U.S. Magistrate Judge. Please confer with your client about these matters before the
conference so that you are in a position to respond.

VI. ATTORNEYS’ FEES

In any case where attorneys’ fees may be sought by the prevailing party, counsel must be
familiar with the provisions of Local Rule 109.2 and the Rules and Guidelines for Determining
Attorneys’ Fees in Certain Cases which are Appendix B to the Local Rules.

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VII. COMPLIANCE WITH LOCAL RULES AND CM/EC.F PROCEDURES

The court will demand compliance with the Local Rules and CM/ECF procedures If you need
to obtain a copy of the Local Ruies or the CM!ECF procedures, they are available on our website

at www.mdd.uscourts.gov.

Vlll. COMPLIANCE WITH PRIVACY PROTECTION RULE

Counsel are reminded that the F ederal Rules of Civil Procedure were amended, effective
Decernber l, 2007, with the addition of a new Rule 5.2 which has detailed requirements
requiring the redaction of filings with this court that contain an individual's social security
number, tax payer identification number, or birth date, the name of an individual known to be a
minor, or a financial account number. lt is essential that counsel comply with this rule and with
the revised version of the Judicial Conference Privacy Policy adopted in March 2008. For
further information on the Judicial Conference Privacy Policy see:
htt ://www.mdd.uscourts. ov/news)'news/ rivac memo. df.

May _\, 2019 ge b M@

George L. Russell, llI
United States District Judge

 

